          Case 8:21-cv-01001-LKG Document 20 Filed 07/26/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


 JEFFREY BENJAMIN, Individually and On               Case No. 8:21-cv-01001-PWG
 Behalf of All Others Similarly Situated,

                Plaintiff,                           CLASS ACTION

                v.

 VERUS INTERNATIONAL, INC et al,

                 Defendants.


                  ORDER APPOINTING LEAD PLAINTIFF, AND
             APPROVING LEAD PLAINTIFF’S SELECTION OF COUNSEL

       WHEREAS, the above-captioned securities class action has been filed against Defendants

Verus International, Inc., Anshu Bhatnagar, and Christopher Cutchens, alleging violations of the

federal securities laws;

       WHEREAS, pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

15 U.S.C. § 78u-4(a)(3)(A)(i), on April 23, 2021, a notice was issued to potential class members

of the action informing them of their right to move to serve as lead plaintiff within 60 days of the

date of the issuance of said notice;

       WHEREAS, on June 22, 2021, Movant Mark Wayne (“Movant”) moved the Court to

appoint Movant as Lead Plaintiff and to approve Movant’s selection of The Rosen Law Firm, P.A.

as Lead Counsel for the Class and Murphy, Falcon & Murphy as Liaison Counsel, and the motion

is unopposed;

       WHEREAS, the PSLRA provides, inter alia, that the most-adequate plaintiff to serve as

lead plaintiff is the person or group of persons that has either filed a complaint or has made a



                                                 1
         Case
          Case8:21-cv-01001-PWG
               8:21-cv-01001-LKG Document
                                 Document11-8
                                          20 Filed
                                              Filed07/26/21
                                                    06/22/21 Page
                                                              Page2 2ofof2 2



motion in response to a notice and has the largest financial interest in the relief sought by the Class

and satisfies the requirements of Fed. R. Civ. P. 23; and

         WHEREAS, the Court finding that Movant has the largest financial interest in this action

and prima facie satisfies the typicality and adequacy requirements of Fed. R. Civ. P. 23. See U.S.C.

§ 78u-4(a)(3)(B)(iii)(I);

         IT IS HEREBY ORDERED THAT:

              APPOINTMENT OF LEAD PLAINTIFF AND LEAD COUNSEL

         1.     Pursuant to Section 21D(a)(3)(B) of the Exchange Act, Movant is appointed as Lead

Plaintiff for the class as he has the largest financial interest in this litigation, the motion is

unopposed, and otherwise satisfies the requirements of Fed. R. Civ. P. 23.

         2.     Movant’s choice of counsel is approved and accordingly, The Rosen Law Firm,

P.A. is appointed as Lead Counsel for the Class and Murphy, Falcon & Murphy is appointed as

Liaison Counsel.

         3.     Lead Counsel, after being appointed by the Court, shall manage the prosecution of

this litigation. Lead Counsel is to avoid duplicative or unproductive activities and is hereby vested

by the Court with the responsibilities that include, without limitation, the following: (1) to prepare

all pleadings; (2) to direct and coordinate the briefing and arguing of motions in accordance with the

schedules set by the orders and rules of this Court; (3) to initiate and direct discovery; (4) to prepare

the case for trial; and (5) to engage in settlement negotiations on behalf of Lead Plaintiff and the

Class.

                                                 SO ORDERED:


Dated: July 26, 2021                               /S/
                                              HONORABLE PAUL W. GRIMM
                                              UNITED STATES DISTRICT JUDGE



                                                     2
